        Case 18-20682-JAD                  Doc 65         Filed 02/22/19 Entered 02/22/19 18:41:54                                Desc Main
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 Fill in this information to identify your case:
 Debtor 1              Mary               Lu                      Frankovic
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: WESTERN DIST. OF PENNSYLVANIA

 Case number           18-20682
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        County of Allegheny                                   Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Residence                                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor intends to cause lienor to be satisfied in full via
                                                                              estate administration or, should administration be
                                                                              impracticable, via any other lawful method.


      Creditor's        Internal Revenue Service                              Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Residence                                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor intends to cause lienor to be satisfied in full via
                                                                              estate administration or, should administration be
                                                                              impracticable, via any other lawful method.




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Debtor 1     Mary Lu Frankovic                                                        Case number (if known)     18-20682

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's       North Hills School District Tax Office              Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Residence                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor intends to cause lienor to be satisfied in full via
                                                                         estate administration or, should administration be
                                                                         impracticable, via any other lawful method.


    Creditor's       Township of Ross                                    Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Residence                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor intends to cause lienor to be satisfied in full via
                                                                         estate administration or, should administration be
                                                                         impracticable, via any other lawful method.


    Creditor's       Township of Ross                                    Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Residence                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor intends to cause lienor to be satisfied in full via
                                                                         estate administration or, should administration be
                                                                         impracticable, via any other lawful method.


 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Stephen Otto obho Debtor, Mary Lu Frankovic
                                             X
   Stephen Otto obho Debtor, Mary Lu Frankovic, Debtor 1 Signature of Debtor 2

   Date 02/20/2019                                         Date
        MM / DD / YYYY                                            MM / DD / YYYY




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